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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
 UMG RECORDINGS, INC., et al.,                     §
                                                   §
 V.                                                §     CAUSE NO. A-17-CA-365-LY
                                                   §
 GRANDE COMMUNICATIONS                             §
 NETWORKS, LLC                                     §

                                              ORDER

       In this order the Court revisits the matters addressed in the order entered September 21, 2018.

(Dkt. No. 186). In that order, the Court denied all of the then-pending motions to seal documents,

and directed the parties to file motions to retain matters under seal, with additional information, on

all of those documents, or, barring the filing of motions to retain, the Court would unseal the records

addressed in the pending motions to seal. The parties have now filed motions to retain sealing,

which the Court granted today. (Dkt. Nos. 203, 204).

       Accordingly, other than the matters kept under seal by Dkt. Nos. 203 and 204, the Clerk

is directed to file in the public record of this case all of the materials that the parties previously

requested leave to file under seal in Dkt. Nos. 109, 112, 120, 128, 141, 147, 158, 166, 173, 177, and

180.

       SIGNED this 2nd day of October, 2018.



                                             _____________________________________
                                             ANDREW W. AUSTIN
                                             UNITED STATES MAGISTRATE JUDGE
